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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

 Roosevelt Myles,                              )
                                               )
                           Plaintiff,          )
                                               )     Case No. 1:23-cv-14280
                    v.                         )
                                               )     Judge Joan B. Gottschall
 Anthony Wojcik, et al.,                       )
                                               )
                           Defendants.         )

                           MEMORANDUM OPINION AND ORDER
       Defendants, the City of Chicago (“the City”) and six Chicago police officers, move in

this 42 U.S.C. § 1983 suit to bifurcate discovery and trial into two, sequenced phases: an

individual liability phase limited to determining whether the individual defendants are liable for

a constitutional violation followed by, if necessary, a second round of discovery and a second

trial on whether the City is also liable under Monell v. New York City Department of Social

Services, 436 U.S. 678 (1978). Also before the court is defendants’ partially contested motion

for entry of a confidentiality protective order governing discovery. For the following reasons,

the court denies defendants’ motion to bifurcate and grants in part and denies in part their motion

for a confidentiality protective order.

                                          I. Background

A. Claims and Procedural History
       Plaintiff Roosevelt Myles (“Myles”) filed this lawsuit under 42 U.S.C. § 1983 against the

City of Chicago and six Chicago police officers. He alleges that the officer defendants fabricated

and falsified evidence used to convict him of a 1992 robbery and murder he did not commit. See

Am. Compl. (“AC”) ¶¶ 25–52, ECF No. 40. Myles spent 27 years in prison for the murder. AC

¶ 54. At the request of the prosecutor, the Circuit Court of Cook County vacated Myles’

conviction just before a scheduled hearing on his claim of actual innocence. See AC ¶¶ 53–55

(date not given).
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       Myles’ amended complaint has twelve counts, all but three of which are brought against

the individual defendants. Myles brings the following § 1983 claims in counts I–VI: a due

process claim for fabrication of evidence; a claim under Brady v. Maryland, 373 U.S. 83 (1963),

for failure to disclose exculpatory evidence; a malicious prosecution and wrongful detention

claim under the Fourth and Fourteenth Amendments; a conspiracy claim; and a failure to

intervene claim. AC ¶¶ 85–123. In count VI, Myles pleads a Monell claim, alleging that the City

is liable for the individual officers’ constitutional violations. AC ¶¶ 125–44.

       Counts VII–XII arise under Illinois law. Respectively, these counts assert a claim for

malicious prosecution, a conspiracy claim, an intentional infliction of emotional distress claim, a

claim that the individual defendants engaged in willful and wanton conduct, a state law

respondeat superior claim against the City, and a state law indemnification claim against the

City. See AC ¶¶ 144–69. Defendants have answered the amended complaint. Answers, ECF

Nos. 62, 63. Discovery commenced in January 2024. See Min. Entry 1 (Jan. 23, 2024), ECF

No. 54 (setting initial discovery schedule). Defendants filed the instant motion to bifurcate in

April 2024. ECF No. 69.

B. Alleged City Customs and Policies
       Monell holds that municipal liability under § 1983 cannot be based on a theory of

respondeat superior. 436 U.S. at 694. “Instead, it is when execution of a government's policy or

custom, whether made by its lawmakers or by those whose edicts or acts may fairly be said to

represent official policy, inflicts the injury that the government as an entity is responsible under

§ 1983.” Id. Thus, an official policy of the defendant municipality, here the City of Chicago,

must be shown to be the “moving force” behind the constitutional violation. Id. Under Monell,

“[M]unicipal policy includes the decisions of a government's lawmakers, the acts of its

policymaking officials, and practices so persistent and widespread as to practically have the force

of law.” Connick v. Thompson, 563 U.S. 51, 61 (2011) (citations omitted). To impose liability

under Monell, a plaintiff must “identify a municipal ‘policy’ or ‘custom’ that caused the



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(plaintiff's) injury.” Bryan Cnty. Bd. of Com'rs v. Brown, 520 U.S. 397, 403 (1997) (citing

Pembaur v. Cincinnati, 475 U.S. 469, 480–81 (1986)); Monell, 436 U.S. at 694.

       In count VI of his amended complaint, Myles alleges that the following City customs and

policies caused his wrongful incarceration:

       133. As a matter of both policy and practice, municipal policy makers and
       department supervisors condoned and facilitated a code of silence with the Chicago
       Police Department. In accordance with this code, officers refused to report and
       otherwise lied about misconduct committed by their colleagues, including the
       misconduct at issue in this case.

       134. As a result of the City of Chicago’s established practice of not tracking and
       identifying police officers who are repeatedly accused of the same kinds of serious
       misconduct, failing to investigate cases in which the police are implicated in a
       wrongful charge or conviction, failing to discipline officers accused of serious
       misconduct and facilitating a code of silence within the Chicago Police Department,
       officers (including the Defendants here) have come to believe that they may violate
       the civil rights of members of the public and cause innocent persons to be charged
       with serious crimes without fear of adverse consequences. As a result of these
       policies and practices of the City of Chicago, members of the Chicago Police
       Department act with impunity when they violate the constitutional and civil rights
       of citizens
                                              ****

       136. The City of Chicago and its Police Department failed in 1985 and in the years
       prior to provide adequate training to Chicago Police Detectives and other officers
       in any of the following areas, among others:

               a. The constitutional requirement to disclose exculpatory evidence,
               including how to identify such evidence and what steps to take when
               exculpatory evidence has been identified in order to ensure that the evidence
               is made part of the criminal proceeding.

               b. The need to refrain from manipulation or potentially coercive conduct in
               relation to witnesses.

               c. The need to refrain from using physical violence, threats of violence, and
               psychological coercion to procure involuntary statements from suspects.

               d. The risks of wrongful conviction and the steps police officers should take
               to minimize risks.

               e. The risks of engaging in tunnel vision during investigation.

               f. The need for full disclosure, candor, and openness on the part of all
               officers who participate in the police disciplinary process, both as witnesses
               and as accused officers, and the need to report misconduct committed by
               fellow officers.


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       138. The City’s failure to train, supervise, and discipline its officers, including
       repeat offenders such as Defendants Wojcik and Rutherford effectively condones,
       ratifies, and sanctions the kind of misconduct that the Police Officer Defendants
       committed against Plaintiff in this case. Constitutional violations such as occurred
       in this case are encouraged and facilitated as a result of the City’s practices and de
       facto polices, as alleged above.
AC ¶¶ 133–34, 136, 138.

                             II. Bifurcation of Discovery and Trial
       Defendants contend that bifurcation will expedite and simplify the resolution of this case

and that they will be unduly prejudiced if Monell issues and individual liability issues are tried

together. Myles opposes bifurcation, arguing that experience in similar suits stemming from a

wrongful conviction have shown that the supposed efficiencies to be gained by bifurcating

individual liability and Monell issues are illusory and that defendants will not be unduly

prejudiced.

A. Motion Standard
       Under Federal Rule of Civil Procedure 42(b), “For convenience, to avoid prejudice, or to

expedite and economize, the court may order a separate trial of one or more separate issues,

claims, crossclaims, counterclaims, or third-party claims.” Rule 42(B) permits a district court to

“separate claims or issues for trial if the separation would prevent prejudice to a party or promote

judicial economy.” Chlopek v. Fed. Ins. Co., 499 F.3d 692, 700 (7th Cir. 2007) (citing

Houseman v. U.S. Aviation Underwriters, 171 F.3d 1117, 1121 (7th Cir. 1999)). When deciding

whether to order separate trials, “The court must balance considerations of convenience,

economy, expedition, and prejudice, depending on the peculiar facts and circumstances of each

case.” Houskins v. Sheahan, 549 F.3d 480, 495 (7th Cir. 2008).

B. Analysis
       In this judicial district, municipalities often move for separate trials on individual liability

and Monell issues. As explained by this court in Bonds v. City of Chicago:

       Bifurcation of Monell issues in § 1983 actions frequently expedites the disposition
       of the case, since the resolution of the claims against the individual officers may
       end the entire case (either because no infringement of plaintiff’s constitutional

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       rights is established or because the plaintiff is able to settle the case in a way that
       persuades him not to go further), after less complex discovery and a less complex
       trial. Medina v. City of Chicago, 100 F.Supp.2d 893, 895 (N.D. Ill. 2000); see also
       Swanigan v. City of Chicago (Swanigan I), 775 F.3d 953, 963 (7th Cir. 2015), aff'd
       after remand Swanigan v. City of Chicago (Swanigan II), 881 F.3d 577
       (7th Cir. 2018) (commenting that “[t]he stipulation and stay of the Monell suit in
       this case achieved the goal of avoiding unnecessary complexity and effort”).

       There are considerations that militate against bifurcation, however. There are
       circumstances where resolution of the claims against the individual officers does
       not eliminate the need for a trial of the Monell claim. See Medina, 100 F.Supp.2d
       at 896. And if, after discovery and a trial on the individual claims, it is necessary
       to begin discovery again and try the Monell claim, the result of the bifurcation will
       be a longer and more complex road to the case’s disposition, including a second
       trial that is largely repetitive of the first. Moreover, there are non-economic benefits
       that flow from discovery (as well as a possible trial) of the Monell claim. Chiefly,
       an airing of the Monell claim through discovery assures transparency, and if
       problems in the City’s policies and practices are revealed through discovery or trial,
       the likelihood of deterring future misconduct is significantly enhanced. See
       generally Medina, 100 F.Supp.2d at 896–97.
Bonds v. City of Chicago, 2018 WL 1316720, at *3 (N.D. Ill. Mar. 14, 2018) (Gottschall, J.).

       Depending on the case’s particular facts and circumstances, this court has granted as

many motions to bifurcate (or stay) Monell discovery as it has denied. Compare id. (denying

motion) and Jackson v. City of Chicago [“Jackson II”], 2017 WL 8199322 (N.D. Ill. Dec. 12,

2017) (same), with Taylor v. Kachiroubas, 2013 WL 6050492 (N.D. Ill. Nov. 15, 2013)

(granting motion to bifurcate individual liability and Monell issues) and Clarett v. Suroviak,

2011 WL 37838, at *2 (N.D. Ill. Jan. 3, 2011) (staying Monell discovery).

       In the case at bar, individual defendants argue that they will be “severely prejudiced” if

Monell issues are tried jointly with questions of officer liability, owing to the “inevitable
prejudice caused by the introduction at trial of evidence relating to numerous claims of alleged

police misconduct that are not related to Plaintiff’s case.” Mot. To Bifurcate 18, ECF No. 69.

Individual defendants raise legitimate concerns, but they raise them largely in a vacuum. At this

early stage with virtually no discovery taken, this court knows very little about the facts and

Monell claims as they are likely to be presented at trial. This court’s experience has been that

“the better time to evaluate that issue [of prejudice] is shortly before trial, when the court (and

the parties) will have a much better understanding of the evidence and its relevance to the

individual and Monell claims. At that point, the court will be in a much better position than it is

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now to hear the parties on the subject of whether curative instructions to deal with any prejudice

are likely to be effective.” Jackson II, 2017 WL 8199322, at *3 (citing Houskins, 549 F.3d at

496). That holds true in this case where the court knows virtually nothing about the subjects

that, in all likelihood, will drive the prejudice analysis once the trial picture becomes clear.

       As for the economies and convenience of the parties, the City maintains that its

indemnification obligations to individual defendants and its agreement to satisfy any judgment

against them obviates the need for substantial exploration of Myles’ Monell claims—claims for

which discovery will be costly and ultimately unnecessary in the City’s view. To illustrate the

expenses it believes will be avoided, the City provides estimates of its Monell discovery costs in

recent civil rights cases stemming from wrongful convictions. In each, the City’s Monell

discovery costs exceeded $1 million. See Mot. To Bifurcate 16–17. The court does not doubt

that Monell discovery is likely to be costly and time-consuming for all parties. In his first set of

requests for production of documents, Myles has asked the City to produce 20 years of homicide

investigative files (1982–2002). See Mot. To Bifurcate Ex. E ¶ 75, ECF No. 69-5. No party

disputes that responding to this request will be costly and time consuming or that the request is

relevant to Myles’ Monell claim. Indeed, the City has argued in similar cases that it is necessary

for the plaintiff to compare a large number of police and other files to demonstrate a pattern of

non-disclosures sufficient to support a Monell claim against it under Brady. See DeLeon-Reyes

v. Guevara, 2019 WL 4278043, at *5–7 (N.D. Ill. Sept. 10, 2019) (describing the City’s
arguments and the courts’ rulings in Rivera v. Guevara, No. 12-cv-4428, and Fields v. City of

Chicago, No. 10-cv-1168).

       Though Monell discovery will undoubtedly be costly, it also appears likely to be

inevitable. The Seventh Circuit has made clear that discovery and trial on Monell issues may be

appropriate even where a municipality has agreed to cover the individual defendants’ damages

and attorney fees. “[I]n some civil-rights cases, however, a verdict in favor of individual

defendants would not necessarily be inconsistent with a plaintiff's verdict on a factually distinct

Monell claim. . . . District courts cannot prevent plaintiffs from pursuing potentially viable

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Monell claims that seek additional equitable relief or are distinct from the claims against

individual defendants.” Swanigan v. City of Chicago, 775 F.3d 953, 962–63 (7th Cir. 2015)

(citing Thomas v. Cook Cnty. Sheriff's Dep't, 604 F.3d 293, 305 (7th Cir.2010)).

       Myles does not seek equitable relief in his amended complaint. See AC 38–39. But he

brings an independent Monell claim, meaning one that could impose liability upon the City even

if a jury declines to hold the officer defendants individually liable for a Brady violation.

Specifically, Myles alleges that exculpatory police reports were not produced before trial, if not

due to the individual defendants’ deliberate suppression, then due to the City’s faulty

recordkeeping customs and policies. See Resp. Opp’n. Mot. To Bifurcate 7–11, ECF No. 81. “A

municipality can be held liable under Monell, even when its officers are not, unless such a

finding would create an inconsistent verdict.” Thomas, 604 F.3d at 305 (alterations in original)

(citing Los Angeles v. Heller, 475 U.S. 796, 798–99 (1986)). To the extent Myles asserts a

factually independent Monell claim, his claim against the City will not necessarily be

extinguished by a verdict in the individual defendants’ favor, meaning that bifurcation is likely

only to delay the inevitable costs of Monell discovery. See Swanigan, 775 F.3d at 934–35;

Thomas, 604 F.3d at 305; see also, e.g., Cage, 2010 WL 3613981, at *2 (recognizing the validity

of a similar claim under Monell and Brady).

       Since Myles is pursuing an independent Monell claim, the balance of the economies and

potential prejudice tips against bifurcation on the present record. It appears nearly impossible to
disentangle discovery on Myles’ independent Monell claim from individual liability discovery.

See Bonds, 2018 WL 1316720, at *4. That is because discovery concerning individual

defendants’ liability for a Brady claim will almost certainly require discovery on the City’s

policies and customs surrounding the creation, processing, and disclosure of police reports and

evidence. See Bouto v. Guevara, 2021 WL 5415151, at *3 (N.D. Ill. Nov. 19, 2021); Cage, 2010

WL 3613981, at *2. Defendants suggest no way to disaggregate discovery relevant to Monell

from discovery relevant to individual defendants’ liability under Brady and no way is apparent to

the court.

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       After balancing the costs and benefits of bifurcation, as well as the limited information

available on prejudice, the present record leads the court to conclude that bifurcation is more

likely to prolong and increase the overall costs of this litigation than it is to produce economies

for the parties. Defendants’ motion to bifurcate is therefore denied. Defendants remain free,

however, to ask the court to revisit their request to bifurcate once trial is imminent and a clearer

picture has emerged, allowing the court to assess the prejudice, if any, to individual defendants

from holding a single trial on individual and Monell liability.

                              III. Confidentiality Protective Order
       Defendants move for entry of a protective order governing the designation and disclosure

of confidential information during discovery (“confidentiality protective order”). ECF No. 91.

Myles agrees such an order should be entered, but he objects to defendants’ proposed changes to

this court’s model confidentiality protective order, primarily their proposals surrounding the

contents of so-called “CR files” created by the City in the course of investigating citizen

complaints against police officers.

A. Governing Law
       “Parties to litigation have a constitutionally protected right to disseminate information

obtained by them through the discovery process absent a valid protective order,” and the Seventh

Circuit has stated more than once that “as a general proposition, pretrial discovery must take

place in the public unless compelling reasons exist for denying the public access to the

proceedings.” Jepson, Inc. v. Makita Elec. Works, Ltd., 30 F.3d 854, 858 (7th Cir. 1994)

(alterations omitted) (quoting Am. Tel. & Tel. Co. v. Grady, 594 F.2d 594, 596 (7th Cir. 1978)).

“Documents that affect the disposition of federal litigation are presumptively open to public view

unless a statute, rule, or privilege justifies confidentiality.” City of Greenville v. Syngenta Crop

Prot., LLC, 764 F.3d 695, 697 (7th Cir. 2014) (ellipses omitted) (citing In re Specht, 622 F.3d

697, 701 (7th Cir. 2010)). In contrast, material exchanged during discovery that is not filed with,

or otherwise considered by, the court “can be shielded from the public eye” in an appropriately

tailored protective order. Id. (citing Seattle Times Co. v. Rhinehart, 467 U.S. 20 (1984)).

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       On motion and a showing of good cause, Federal Rule of Civil Procedure 26(c) permits

the court to “issue an order to protect a party or person from annoyance, embarrassment,

oppression, or undue burden or expense.” Fed. R. Civ. P. 26(c)(1). As the moving parties,

defendants bear the burden to show that good cause exists. See Jepson, 30 F.3d at 859–60; Am.

Tel. & Tel. Co., 594 F.2d at 596; Williams v. City of Chicago, 2022 WL 10105656, at *4 (N.D.

Ill. Oct. 17, 2022). Regardless of whether the parties agree on the terms of a confidentiality

protective order, “a district court is required to ‘independently determine if good cause exists’

before judicially protecting discoverable documents from third-party disclosure.” Walsh v. Alight

Sols. LLC, 44 F.4th 716, 726 (7th Cir. 2022) (alteration omitted) (quoting Salmeron v. Enter.

Recovery Sys., Inc., 579 F.3d 787, 795 (7th Cir. 2009)); accord. Jepson, 30 F.3d at 858. In

considering whether good cause exists to issue a protective order limiting disclosure of unfiled

discovery, the court "balances the harm to the party seeking the protective order against the

importance of disclosure." Williams, 2022 WL 10105656, at *4.

B. Analysis
       This court has issued three opinions ruling on the extent to which CR files maybe

designated as confidential during discovery. See Jackson v. City of Chicago [“Jackson I”], 2017

WL 5478303 (N.D. Ill. Nov. 14, 2017); Kuri v. City of Chicago, 2014 WL 12932201 (N.D. Ill.

June 11, 2014); and Calhoun v. City of Chicago, 273 F.R.D. 421 (N.D. Ill. 2011). Defendants

contend that the trend in this district in the past few years has been to approve the changes to the

model order they propose. The court has reviewed the decisions cited in defendants’ motion and

reply. See, e.g., Mot. Protective Order 10, ECF No. 91 (collecting cases); Reply 4–5, ECF No.

106 (same). In nearly all of the decisions defendants cite, the court either entered an agreed

protective order without comment or ruled summarily on an uncontested motion for entry of a

protective order without articulating its reasons. See, e.g., Abrego v. Guevara, No. 23-cv-1740,

min. order at 1 (N.D. Ill. Apr. 15, 2024); Martinez v. Guevara, No. 23-cv-1741, order at 1–2 (N.

D. Ill. Apr. 26, 2024). These summary and uncontested decisions do not persuade this court to

revisit Jackson I, Kuri, or Calhoun. See Jackson I, 2017 WL 5478303, at *2. Consistent with

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those cases, the court rules as follows. To the extent the parties raise arguments not addressed by

Jackson I, Kuri, and Calhoun, they are discussed in the following paragraphs:

1.              Contrary to defendants’ proposal, the definition of “confidential information” in

         paragraph two of the protective order must be identical to this court’s model

         confidentiality protective order. The Illinois appellate court has held that CR files are

         public records subject to disclosure under the Illinois Freedom of Information Act.

         Kalven v. City of Chicago, 2014 IL App (1st) 121846, ¶¶ 26–31; see also Peoria Journal

         Star v. City of Peoria, 2016 IL App (3d) 140838, ¶¶ 15–17. Defendants have not shown

         good cause for designating entire CR files as confidential, as contrasted with specific

         portions of them disclosing information already covered by the definition of confidential

         information. Since “[t]he CR files are subject to public inspection; designating CR files

         disclosed through discovery as confidential would do little more than plug a hole in a

         levee that has already burst.” Kuri, 2014 WL 12932201, at *2. Defendants’ request to

         include various Illinois statutory references in the definition of confidential information is

         rejected for the reasons given in Jackson I, 2017 WL 5478303, at *3.

2.              The following sentence at the end of paragraph two of the model order must be

         included in the protective order entered in this case: “Information or documents that are

         available to the public may not be designated as Confidential Information.” The model

         order includes this sentence to address substantial First Amendment problems that would
         be created without it—problems concerning imposing an unconstitutional prior restraint

         on the free speech rights of the parties and their attorneys. See Seattle Times, 467 U.S. at

         34; Jepson, 30 F.3d at 8589; Am. Tel. & Tel. Co., 518 F.2d at 596; see also Bond v.

         Utreras, 585 F.3d 1061, 1073 (7th Cir. 2009); Jackson I, 2017 WL 5478303, at *3–4.

         Defendants propose no less restrictive alternatives that would address the First

         Amendment problems their proposal would create.

3.              Defendants propose adding the emphasized language to ¶ 3(a): “The marking

         ‘CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER’ shall be applied prior to or

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         as soon as practicable after the documents are produced or disclosed.” Defendants

         propose this change to fix an oversight in the model order, namely the absence of

         protection from an inadvertent failure to designate discovery material as confidential.

         Myles raises concerns that defendants will be able retroactively to designate discovery

         material as confidential at any time.

                To resolve this dispute, the court draws on Federal Rule of Evidence 502(b),

         which governs in the analogous situation of an inadvertent disclosure of material that is

         either privileged or attorney work product. To avoid waiver by inadvertent disclosure,

         Rule 502(b) requires the producing party to show, among other things, that “the holder of

         the privilege or protection took reasonable steps to prevent disclosure” and that “the

         holder promptly took reasonable steps to rectify the error.” Fed. R. Evid. 502(b)(2)–(3)

         (numbering omitted). To address Myles’ legitimate concerns, the court directs the parties

         to propose a revised version of ¶ 3(a) modeled on Rule 502(b).

4.              Defendants’ proposal to modify ¶ 4 to provide for a 14-day period in which to

         review a deposition transcript and make confidentiality designations is reasonable and is

         accepted. Defendants propose this change in response to concerns raised by plaintiffs’

         attorneys in other cases. Myles opposes a post-deposition review period here, but a 14-

         day period is unlikely to delay the litigation in any significant way.

5.              Defendants’ proposed ¶ 5(b)(9), requiring a witness to sign a form before being
         shown any document containing confidential information, is rejected. Defendants cite no

         rule or statute imposing such a requirement. Defendants contend that this proposed

         revision is intended to help all parties efficiently interview witnesses about confidential

         matters. They envision an attorney or investigator showing documents to a witness

         during an interview, so long as the witness first signs a form agreement pledging not to

         reveal confidential information. See Mot. Protective Order 15. Myles contends that

         imposing a signature requirement risks deterring witnesses from cooperating, particularly

         unsophisticated witnesses who may have knowledge of key underlying facts. Many such

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         witnesses, Myles argues, are likely to be intimidated by a request to sign a confidentiality

         agreement. Neither Myles nor defendants cite any real-world examples of how a witness

         has responded to a request to sign a confidentiality agreement before an interview. The

         court declines to speculate other than to find that Myles’ concerns about intimidating an

         unsophisticated witness are not frivolous. Since defendants identify no specific witness

         they wish to interview using the procedure in proposed ¶ 5(b)(9), the balance of interests

         tips against including it at this juncture. If defendants encounter difficulties interviewing

         a witness as discovery progresses, they may move to modify the confidentiality

         protective order appropriately.

6.              Defendants’ proposed ¶ 6 gives them the right not only to designate sensitive

         personal information as confidential (meaning that opposing counsel cannot disclose it);

         it also allows defense counsel to “redact from all documents produced in discovery social

         security numbers, dates of birth, and information covered by the Juvenile Court Act, as

         well as, for security reasons, all references to a current or former individual police

         officer’s confidential information about him/herself and his/her family, including but not

         limited to, social security number, home address, home and cellular telephone number(s),

         personal email address(es), the names of family members and the names of insurance

         beneficiaries.” Proposed Order ¶ 6. Myles agrees that information such as social security

         numbers, birth dates, and names of police officers’ family members should be kept
         confidential, but he contends that defendants are attempting to gain a litigation advantage

         by redacting potential witnesses’ contact information.

                In Williams v. City of Chicago, 2022 WL 10105656, at *9 (N.D. Ill. Oct. 17,

         2022), Judge Fuentes explained why a broad redaction provision similar to proposed ¶ 6

         gives the City a leg up by allowing defense counsel to freeride on the work product of

         plaintiff’s attorneys. In short, if Myles’ attorneys want to interview a witness they think

         might have relevant information based on their review of a CR file (or another discovery

         document), they are forced to request the witness’s contact information from defendants.

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       Such a request alerts defense counsel of which witnesses their opponents are considering

       pursuing, giving defense counsel the option of trying to interview those witnesses first.

       See id. “Defendants’ proposed screening procedure gives the adversary much more of a

       road map—as to a plaintiff's intentions and priorities—than the adversary otherwise

       would have had.” Id. The court agrees. Proposed ¶ 6 functions a bit like a chess rule

       requiring one player to list for her opponent the pieces she is considering moving in the

       next few turns.

               Given, however, that widespread disclosure of last known contact information

       may, in some circumstances, create safety concerns, the court will allow this information

       to be redacted, but it will require that at the time of production, producing counsel must

       provide opposing counsel with the redacted last known contact information, to be kept

       confidential from all persons other than attorneys who have appeared in this case. Such

       information, to be clear, is to be produced for attorneys’ eyes only. This level of

       protection strikes a balance between defendants’ legitimate concerns about the safety and

       security of law enforcement officials and their families and the need to protect the work

       product of Myles’ attorneys.

                                          IV. Conclusion
       For the reasons stated, defendants’ motion to bifurcate is denied, and their motion for a

confidentiality protective order is granted in part and denied in part. Within seven days, on or
before November 22, 2024, the parties are instructed to confer and submit an agreed proposed

confidentiality protective order consistent with the foregoing rulings.


Dated November 15, 2024                                              /s/ Joan B. Gottschall
                                                                     United States District Judge




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